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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW HAMPSHIRE

 THE UNITED STATES OF AMERICA

                v.                                                  No. 1:21-cr-41-JL-01

 ARIA DIMEZZO

                  MOTION TO DISMISS COUNTS ONE AND THREE

       The accused, Aria DiMezzo, through counsel, respectfully moves to dismiss

Counts One and Three of the superseding indictment.

       DiMezzo is charged in nine counts of the indictment. Seven of those counts

accuse of her fraud. She did not defraud anyone and is innocent of those seven counts.

She will fight those out at trial. The other two counts relate to DiMezzo’s operation of a

business which exchanged virtual currency, such as Bitcoin, for U.S. Dollars. The

Government claims DiMezzo broke the law because she did not register that business

with FinCEN, a federal agency. The Government’s claim fails because, during the

timeframe in the indictment, FinCEN had no authority to require registration of a

business which exchanges virtual currency for dollars.

       The federal statute which requires registration of “money transmitting businesses”

has been amended several times. The version which applies to this case is the version in

effect from 2001 to 2021. That statute defined a money transmitting business as one

engaged in the transmission or exchange of “funds.” The federal agency charged with

administering this law, FinCEN, decided, on its own, without authority from Congress,

that the authority to regulate funds also gave it the authority to regulate virtual currency.

That decision was wrong.




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       The law that applies in this case did not authorize federal agency regulation of

those engaged in the transmission or exchange of virtual currency. Virtual currency,

which is now a multi-trillion-dollar part of the economy, did not even exist at the time the

statute was passed. Since the invention of virtual currency, federal agencies have disputed

whether it is property, a security, a commodity, money, or something else. To this day,

they are fighting over the issue. Lastly, and most importantly, we know from the

Supreme Court’s major questions doctrine that regulatory agencies cannot presume from

a word or two in a statute to have the authority to regulate vast and important sectors of

the American economy. FinCEN was not entitled to presume that one word in a 2001

statute predicted the invention of virtual currency in 2008 and delegated to a federal

agency full authority to regulate what has become a trillion-dollar sector of the American

economy. Our Constitution says such decisions belong to the elected representatives of

the People – Congress – and any delegation of such authority must be explicitly

conveyed.

       Therefore, as detailed below, the court must dismiss Counts One and Three.


The Superseding Indictment Charges that DiMezzo Conspired to and Did Operate an
Unregistered Money Transmitting Business, Which, According to the Government,
Congress Required to Be Registered with the Department of the Treasury.

       Ms. DiMezzo is charged in nine counts of a 33-count superseding indictment.

Doc. 139. The charges against her are Conspiracy to Operate Unlicensed Money

Transmitting Business [18 U.S.C. §§ 371, 1960(a) and (b)(1)(B)], Operation of

Unlicensed Money Transmitting Business [18 U.S.C. §§ 1960(a) and (b)(1)(B)], four

counts of Wire Fraud [18 U.S.C. § 1343], and three counts of Money Laundering [18

U.S.C. § 1957]. The charges that are relevant to this motion are Counts One and Three,


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which allege that businesses which exchange virtual currency, such as Bitcoin, for fiat

currency, such as U.S. Dollars, were required, prior to 2021, to register as a “money

transmitting business” under federal law.

       Count One charges that from January 2016 to March 15, 2021, Aria DiMezzo

conspired with Ian Freeman and others to operate an unlicensed “money transmitting

business,” in violation of 18 U.S.C. §§ 1960(a) and 1960(b)(1)(b). Specifically, the

indictment alleges that DiMezzo and Freeman conspired to operate “a virtual currency

exchange business, that involved the transportation or transmission of funds which failed

to comply with the money transmitting business registration requirements set forth in

Title 31, United States Code, Section 5330, and the regulations prescribed thereunder.”

The alleged factual basis for this charge is that between May 2016 and March 15, 2021,

DiMezzo and Freeman opened and operated accounts at financial institutions to sell

virtual currency, that DiMezzo and Freeman met customers on Localbitcoins.com and

sold them Bitcoin in exchange for fiat currency, that Freeman operated virtual currency

kiosks, that DiMezzo and Freeman instructed customers to falsely describe their deposits

as “church donations,” and that this conduct was the object of an agreement between

Freeman and DiMezzo.

       Count Three charges that from an unknown date, but at least by September 2019,

and continuing until March 15, 2021, DiMezzo violated 18 U.S.C. § 1960(a) and §

1960(b)(1)(b), in that she “knowingly conducted, controlled, managed, supervised,

directed, and owned an unlicensed money transmitting business affecting interstate and

foreign commerce, namely a virtual currency business, that involved the transportation or

transmission of funds which failed to comply with the money transmitting business



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registration requirements set forth in Title 31, United States Code, Section 5330, and the

regulations prescribed thereunder.” The factual basis for this charge is the allegation that

Aria DiMezzo advertised virtual currency for sale online through websites, including

LocalBitcoins.com, and that she that she met customers on Localbitcoins.com and sold

them Bitcoin in exchange for fiat currency.

       Thus, both Counts One and Three depend on the validity of the claim that in 31

U.S.C. § 5330, as written at the time of the alleged conduct, Congress authorized the

Department of the Treasury to require registration of businesses engaged in the exchange

of virtual currency for fiat currency. As explained below, Congress did not authorize such

regulation.


The 2001 USA PATRIOT Act Version of 31 U.S.C. § 5330, Not the Current Version,
Applies to this Case.

       Eighteen U.S.C. § 1960(b)(1)(B) prohibits the operation of a money transmitting

business which “fails to comply with the money transmitting business registration

requirements under section 5330 of title 31, United States Code, or regulations prescribed

under such section.” Thirty-one U.S.C. § 5330 requires the “registration” of “money

transmitting businesses” with the Secretary of the Treasury. “FinCEN,” the Financial

Crimes Enforcement Network, a bureau of the Department of the Treasury, has

implemented what it believes are the registration requirements under these statutes. See

generally, Registration of money service businesses, 31 C.F.R. § 1022.380 and

https://www.fincen.gov.

       The definition of a “money transmitting business” has changed over time. The

very first version of § 5330, enacted in 1994, defined a “money transmitting business”



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very simply. The 1994 definition in 31 U.S.C. § 5330(d)(1)(A) provided that a money

transmitting business is:

       [Any business which] provides check cashing, currency exchange, or money
       transmitting or remittance services, or issues or redeems money orders, travelers’
       checks, and other similar instruments…

See Riegle Community Development and Regulatory Improvement Act Of 1994, Pub. L.

No. 103-325, 108 Stat. 2160, 2247-48 (1994).

       In 2001, 31 U.S.C. § 5330(d)(1)(A) was amended by the USA PATRIOT Act to

provide that “money transmitting business” means any business which,

       …provides check cashing, currency exchange, or money transmitting or
       remittance services, or issues or redeems money orders, travelers’ checks, and
       other similar instruments or any other person who engages as a business in the
       transmission of funds, including any person who engages as a business in an
       informal money transfer system or any network of people who engage as a
       business in facilitating the transfer of money domestically or internationally
       outside of the conventional financial institutions system;

Uniting and Strengthening America by Providing Appropriate Tools Required to

Intercept and Obstruct Terrorism (USA PATRIOT ACT) Act Of 2001, Pub. L. No. 107-

56, 115 Stat. 272, 328 (2001).

       The 2001 definition of a “money transmitting business” was in effect for nearly

20 years, until January 1, 2021. In Public Law 116-283, effective January 1, 2021,

Congress specifically addressed for the first time whether “virtual currencies” should be

within the scope of the registration requirement of 31 U.S.C. § 5330. Congress found that

“the mission of FinCEN should be to continue to safeguard the financial system from

illicit activity, counter money laundering and the financing of terrorism, and promote

national security through strategic use of financial authorities and the collection, analysis,

and dissemination of financial intelligence” and that “although the use and trading of



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virtual currencies are legal practices, some terrorists and criminals, including

transnational criminal organizations, seek to exploit vulnerabilities in the global financial

system and increasingly rely on substitutes for currency, including emerging payment

methods (such as virtual currencies), to move illicit funds.” William M. (Mac)

Thornberry National Defense Authorization Act for Fiscal Year 2021, Pub. L. No. 116-

283, 134 Stat. 3388, 4552 (2021). Based on this finding, Congress added language to

include money transmitting businesses which dealt in virtual currency. Pub. L. No. 116–

283, § 6102(d)(2)(A), substituted the words “currency, funds, or value that substitutes for

currency,” for “funds,” so that the statute now reads:

        (1) Money transmitting business. The term “money transmitting business” means
            any business other than the United States Postal Service which—

            (A) provides check cashing, currency exchange, or money transmitting or
            remittance services, or issues or redeems money orders, travelers’ checks, and
            other similar instruments or any other person who engages as a business in the
            transmission of currency, funds, or value that substitutes for currency,
            including any person who engages as a business in an informal money transfer
            system or any network of people who engage as a business in facilitating the
            transfer of money domestically or internationally outside of the conventional
            financial institutions system;

31 U.S.C. § 5330(d)(1)(A) (emphasis added). The emphasized language in this version

which became effective in 2021 - “or value that substitutes for currency” – was not in any

prior version of the statute.

        The current version of the statute, and its “value that substitutes for currency”

language, does not apply to this case. Rather, the prior version, enacted in 2001, governs

this case. The applicable time period for Counts One and Three is January of 2016 to

March 15 of 2021. The current version of 31 U.S.C. § 5330 did not become effective

until January 1, 2021, and it allowed 180 days for the required registration.



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       The issue of criminal liability is governed by the substantive criminal law in

effect during the operative timeframe for the indictment. See Beazell v. Ohio, 269 U.S.

167, 169-70 (1925) (“It is settled, by decisions of this Court so well known that their

citation may be dispensed with, that any statute which punishes as a crime an act

previously committed, which was innocent when done . . . is prohibited as ex

post facto.”); see also Calder v. Bull, 3 U.S. (3 Dall.) 386, 388-89 (1798); United States

v. Molina, 407 F.3d 511, 525 (1st Cir. 2005). Thus, the applicable version of 31 U.S.C. §

5330 is the version which was is in effect from 2001 until January 1, 2021.

       In short, the definition of “money transmitting business” which applies to this

case only refers to “funds.” This was the operative definition from 2001 to 2021. The

expansive phrase “or value that substitutes for currency” does not apply in this case. As

explained below, the use of the word “funds” in 2001 could not have been intended to

authorize federal agencies to regulate the entire universe of virtual currency transactions,

a part of the U.S. and global economy which did not even exist when Congress wrote the

2001 law.


Virtual Currency Did Not Exist in 2001, But by 2020 It Had Become a Huge Part of the
Economy of the United States and the World.

       “Virtual currency,” also known as “cryptocurrency,” is “digital money in an

electronic payment system in which payments are validated by a decentralized network of

system users and cryptographic protocols instead of by a centralized intermediary (such

as a bank).” David W. Perkins, Cong. Rsch. Serv., R45427, Cryptocurrency: The

Economics of Money and Selected Policy Issues (April 9, 2020) at 1, available at

https://crsreports.congress.gov/product/pdf/R/R45427/3. Some of the most well-known

cryptocurrencies are Bitcoin, Ether, and Litecoin. Perkins, supra at 7.

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        The first virtual currency was Bitcoin, which was invented in 2008. Bitcoin has

been described as “a decentralized form of electronic or digital currency that exists only

on the [i]nternet.” United States v. Harmon, 474 F. Supp. 3d 76, 80, 90 (D.D.C. 2020)

(quoting United States v. Lord, 915 F.3d 1009, 1013 n.1 (5th Cir. 2019) and collecting

cases). Bitcoin depends on public ledgers and blockchain technology to validate changes

to the ledgers and prevent improper manipulation of the ledgers. Perkins, supra at 7.

Since Bitcoin’s invention in 2008, it and similar virtual currencies have proliferated. See,

Id. at 1; see also Jerry Brito and Andrea Castillo, Bitcoin: A Primer for Policymakers,

Mercatus Center, George Mason University (2013) at 1, available

at https://www.mercatus.org/system/files/Brito_BitcoinPrimer.pdf/.

        Virtual currencies differ from conventional, sovereign-backed currency because

“they generally do not require government backing or the involvement of an

intermediary, such as a bank” and instead rely on a “decentralized network of system

users and cryptographic protocols.” Perkins, supra at i, 1. In addition, while money

historically has either “intrinsic value or derived value from government decree,”

cryptocurrencies “employ user agreement, a network of users, and cryptographic

protocols to achieve valid transfers of value.” Id. at i.

        The growth of virtual currencies like Bitcoin has been dramatic over the last

decade. As the Congressional Research Service explained, “[s]ince 2009,

cryptocurrencies have gone from little-known, niche technological curiosities to rapidly

proliferating financial instruments that are the subject of intense public interest.” Id. at 1.

By 2020, the year before 31 U.S.C. § 5330 was amended, according to a 2021 Federal

Reserve analysis, approximately 12 percent of U.S. adults (roughly 31 million



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      Americans) “held or used cryptocurrencies in the prior year.” Board of Governors of the

      Federal Reserve System, Economic Well-Being of U.S. Households in 2021 45 (May

      2022), available at https://www.federalreserve.gov/publications/files/2021-report-

      economic-well-being-us-households-202205.pdf; United States Census Bureau, CB21-

      208, New Vintage 2021 Population Estimates Available for the Nation, States and Puerto

      Rico (December 21, 2021), available at https://www.census.gov/newsroom/press-

      releases/2021/2021-population-estimates.html.

              Statistics regarding the rapid increase in the average number of cryptocurrency

      transactions per day also make the point. The publicly available blockchain provides the

      following numbers:

mid-Feb ’09 (30 day average): 124.7
mid-Feb ’10 (30 day average): 182.5
mid-Feb ’11 (30 day average): 1,368
mid-Feb ’12 (30 day average): 7,028
mid-Feb ’13 (30 day average): 51,553
mid-Feb ’14 (30 day average): 62,362
mid-Feb ’15 (30 day average): 92,905
mid-Feb ’16 (30 day average): 212,292
mid-Feb ’17 (30 day average): 284,922
mid-Feb ’18 (30 day average): 216,104
mid-Feb ’19 (30 day average): 315,583
mid-Feb ’20 (30 day average): 321,950



      Confirmed Transactions Per Day, https://www.blockchain.com/charts/n-transactions (last

      visited July 27, 2022).

              Along with the dramatic increase in the number of transactions, the value of this

      sector of the economy has also grown tremendously. As of March 2020, when the U.S.

      Dollar price of one Bitcoin was approximately $8,000, there were more than 18 million


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Bitcoins in circulation with an overall market capitalization of $144 billion. Perkins,

supra at 10. Between May 2013 (the earliest date for available data) and December 2020,

the price of one Bitcoin grew from approximately $100 to nearly $30,000, and the overall

market capitalization grew from roughly $1.17 billion to $530 billion. Bitcoin to USD

Chart, https://coinmarketcap.com/currencies/bitcoin/ (last visited July 20, 2022). See

generally CFTC v. McDonnell, 287 F. Supp. 3d 213, 218-19 (E.D.N.Y. 2018). The

number of circulating Bitcoin grew from just 50 in January 2009 to more than 18 million

by December 2020. Total Circulating Bitcoin, https://www.blockchain.com/charts/total-

bitcoins (last visited July 20, 2022).

       The White House reported that in “November 2021, non-state issued digital assets

reached a combined market capitalization of $3 trillion, up from approximately $14

billion in early November 2016.” Exec. Order No. 14,607, 87 Fed. Reg. 14,143 (Mar. 9,

2022), available at https://www.govinfo.gov/content/pkg/FR-2022-03-14/pdf/2022-

05471.pdf. The White House also referenced survey data reporting that “around 16

percent of adult Americans – approximately 40 million people – have invested in, traded,

or used cryptocurrencies.” Press Release, White House, Fact Sheet: President Biden to

Sign Executive Order on Ensuring Responsible Development of Digital Assets (Mar. 9,

2022), https://www.whitehouse.gov/briefing-room/statements-releases/2022/03/09/fact-

sheet-president-biden-to-sign-executive-order-on-ensuring-responsible-innovation-in-

digital-assets/. See also Andrew Perrin, 16% of Americans Say They Have Ever Invested

In, Traded or Used Cryptocurrency, Pew Research Center (Nov. 11, 2021),

https://www.pewresearch.org/fact-tank/2021/11/11/16-of-americans-say-they-have-ever-

invested-in-traded-or-used-cryptocurrency/.



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       To compare the $3 trillion value of “non-state issued digital assets” to another

part of the economy, the coal power generation sector of the United States economy was

valued at approximately $125 billion in 2021. See Energy Explained: Electrical

generation, capacity, and sales in the United States, U.S. Energy Information Agency

(July 15, 2022), https://www.eia.gov/energyexplained/electricity/electricity-in-the-us-

generation-capacity-and-sales.php (reporting 2021 net generation of electricity in the

United States as 4,116 billion kilowatthours (kWh), of which 21.8 percent came from

coal); Tyler Hodge & Elesia Fasching, During 2021, U.S. retail electricity prices rose at

fastest rate since 2008, U.S. Energy Information Agency (Mar. 1, 2022),

https://www.eia.gov/todayinenergy/detail.php?id=51438 (reporting the nominal retail

price of electricity as 13.72 cents per kilowatthour).

       In short, between 2009 and 2020, virtual currency grew to become an enormous

part of the United States and global economy. Moreover, virtual currency was an entirely

new kind of financial instrument. It had no precedent. Finally, this new form of financial

instrument was well-known to the government from 2009 to 2020, and yet, Congress did

not change the definition of a “money transmitting business” in 31 U.S.C. § 5330 until

January 1, 2021.


FinCEN Attempted to Authorize Itself to Regulate Virtual Currency as “Funds,” Even As
Other Agencies Treated It as Property or a Security, and as New Hampshire Rejected
Regulation Under Its Money Transmitting Laws.

       Not surprisingly, as virtual currency became a major sector of the economic

world, federal regulatory agencies sought to regulate it. At best, these efforts have been

inconsistent. The Internal Revenue Service has, on some occasions, treated virtual

currency as property. Internal Revenue Service, IRS Virtual Currency Guidance Notice


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2014-21, 2014-1 C.B. 938, 2014 IRB LEXIS 238, 2014-16 I.R.B. 938, 2014-16 I.R.B. 938

(2014). By contrast, the Securities and Exchange Commission has treated it as an

“investment contract.” SEC v. Ripple Labs, Inc., 2022 U.S. Dist. LEXIS 43497 at *2

(S.D.N.Y. Mar. 11, 2022). And the Commodity Futures Trading Commission has

classified virtual currencies as commodities. In the Matter of: Coinflip, Inc., d/b/a

Derivabit, and Francisco Riordan,, CFTC No. 15-29, 2015 CFTC LEXIS 20 (September

17, 2015). See also CFTC v. McDonnell, 287 F. Supp. 3d 213 (E.D.N.Y. 2018).

       Most notably for this case, FinCEN took nearly five years after the invention of

Bitcoin to decide that virtual currency transmission was within its regulatory authority. In

2013, in FinCEN’s first regulatory effort, it wrote that “‘virtual’ currency is a medium of

exchange that operates like a currency in some environments, but does not have all the

attributes of real currency.” U.S. Dep’t of Treasury, FinCEN, FIN-2013-G001, Guidance:

Application of FinCEN’s Regulations to Persons Administering, Exchanging, or Using

Virtual Currencies (Mar. 18, 2013), available at

https://www.fincen.gov/sites/default/files/shared/FIN-2013-G001.pdf. Then, six years

later, FinCEN expanded this definition by describing a “convertible virtual currency” as

“a type of virtual currency that either has an equivalent value as currency, or acts as a

substitute for currency, and is therefore a type of ‘value that substitutes for currency.’”

U.S. Dep’t of Treasury, FinCEN, FIN-2019-G001, Guidance: Application of FinCEN’s

Regulations to Certain Business Models Involving Convertible Virtual Currencies (May

9, 2019), sec. 1.3, available at https://www.fincen.gov/sites/default/files/2019-05/FinCEN

Guidance CVC FINAL 508.pdf. This is the very language – “value that substitutes for

currency” – which Congress did not add to 31 U.S.C. § 5330 until 2021. Of course, that



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process was the exact opposite of what the Constitution requires. The regulations are

supposed to come after Congress passes the law providing the authority to regulate, not

the other way around, as discussed in detail below.

        In addition and amazingly, in 2019, FinCEN explicitly recognized that it was

going beyond the statutory authorization to regulate the transmission of “funds.” It

explicitly said so:

        The term “other value that substitutes for currency” encompasses situations in
        which the transmission does not involve currency [defined as the coin or paper
        money of a country], or funds, but instead involves something that the parties to a
        transaction recognize has value that is equivalent to or can substitute for currency.

Id. at sec. 1.2.1. In plain English, FinCEN said it was going to regulate something that is

not “funds” – “value that is equivalent to or can substitute for currency,” such as virtual

currency. Yet, FinCEN had no statutory authority to grant itself that power.

        Meanwhile, at the state level, the rise of virtual currency provoked an entirely

different response. New Hampshire, like many states, has its own money transmitting

laws, found in N.H. RSA 399-G. As virtual currency became a large and important part

of the economy, New Hampshire clarified its laws. But, rather than expanding the state

registration requirement, New Hampshire specifically rejected the idea that those dealing

in virtual currency should be required to register as money transmitting businesses. In

2017, the New Hampshire Legislature amended RSA 399-G:3, to exempt from

registration requirements “[p]ersons who engage in the business of selling or issuing

payment instruments or stored value solely in the form of convertible virtual currency or

receive convertible virtual currency for transmission to another location.” N.H. Rev. Stat.

Ann. § 399-G:3 (LexisNexis 2022).




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       Finally, a good example of the conflict and inconsistences among regulators

looking at virtual currency came up just last week. The SEC filed a lawsuit against

employees of a cryptocurrency service, alleging insider trading. SEC v. Wahi, No. 2:22-

cv-01009 (W.D. Wash. July 21, 2022), available at

https://www.sec.gov/litigation/complaints/2022/comp-pr2022-127.pdf. This prompted a

commissioner of another agency, the Commodities Futures Trading Commission, to take

issue with the SEC’s claim that the cryptocurrency assets were securities. Caroline Pham,

Statement of Commissioner Caroline Pham on SEC v. Wahi, Commodity Futures Trading

Commission (July 21, 2022), available at

https://www.cftc.gov/PressRoom/SpeechesTestimony/phamstatement072122.

Commissioner Pham, of the CFTC, issued a press release which began dramatically with

a quote from the Federalist Papers that “The people are the only legitimate fountain of

power, and it is from them that the constitutional charter…is derived.” Id. (ellipsis in

original). She then criticized the SEC, stating, “The case SEC v. Wahi is a striking

example of ‘regulation by enforcement.’” Id.

       The inconsistencies and conflicts among regulatory agencies underscore the fact

that Congress has been reluctant to take action regarding virtual currency. Certainly with

regard to the definition of a money transmitting business, there is every reason to believe

that Congress was aware of the issues regarding the regulation of virtual currency but

chose not to expand the definition of a money transmitting business until the legislation

which took effect on January 1, 2021. Yet, in the midst of this confusion and lack of

action by Congress, the Department of the Treasury and FinCEN purported to require

businesses like DiMezzo’s to register.



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The Department of the Treasury and the Financial Crimes Enforcement Network Were
Not Authorized by Congress, Prior to January 1, 2021, to Require Registration of Persons
Engaged in the Business of Transmitting or Exchanging Cryptocurrency for Fiat
Currency.

       “Agencies have only those powers given to them by Congress.” West Virginia v.

E.P.A., 142 S. Ct. 2587, 2609 (2022). The ordinary rules of statutory interpretation do not

apply when a federal agency would presume great power from a minimal basis in the law.

As recently emphasized by six members of the United States Supreme Court:

       [T]here are “extraordinary cases” that call for a different approach—cases in
       which the “history and the breadth of the authority that [the agency] has asserted,”
       and the “economic and political significance” of that assertion, provide a “reason
       to hesitate before concluding that Congress” meant to confer such authority.

Id. at 2595 (quoting from FDA v. Brown & Williamson Tobacco Corp., 529 U. S. 120,

159-160, 120 S. Ct. 1291, 146 L. Ed. 2d 121 (2000)). See also Utility Air Regulatory

Group v. E.P.A., 573 U. S. 302, 324, 134 S. Ct. 2427 (2014) (“We expect Congress to

speak clearly if it wishes to assign to an agency decisions of vast “economic and political

significance.”) (quoting from Brown & Williamson, 529 U.S. at 160); King v. Burwell,

576 U.S. 473, 485-86, 135 S. Ct. 2480 (2015). In such cases, the Court has adopted a

“major questions” doctrine to rein in “agencies asserting highly consequential power

beyond what Congress could reasonably be understood to have granted.” W. Virginia,

142 S. Ct. at 2609.

       As explained by Justice Gorsuch in his West Virginia concurrence, the major

questions doctrine protects the Constitution’s separation of powers. W. Virginia, 142 S.

Ct. at 2617 (Gorsuch, J., concurring). Justice Gorsuch noted that “[i]n Article I, ‘the

People’ vested ‘[a]ll’ federal ‘legislative powers . . . in Congress.’ Preamble; Art. I, §

1.” Id. Therefore, “‘important subjects . . . must be entirely regulated by the legislature

itself,’ even if Congress may leave the Executive ‘to act under such general provisions to

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fill up the details.’” Id. (quoting Wayman v. Southard, 23 U.S. 1, 10 Wheat. 1, 42-43, 6 L.

Ed. 253 (1825)) (Gorsuch, J., concurring). Ensuring that legislation comes from Congress

and not from agencies of the Executive branch, “is ‘vital to the integrity and maintenance

of the system of government ordained by the Constitution.’” W. Virginia, 142 S. Ct. at

2617 (quoting Marshall Field & Co. v. Clark, 143 U. S. 649, 692, 12 S. Ct. 495, 36 L.

Ed. 294 (1892)) (Gorsuch, J., concurring).

       This is a major questions case. Virtual currency comprises a new and massive

area of the economy which has provoked much political debate and social controversy.

Congress did not intend, by a single word written in 2001, before virtual currency ever

existed, to authorize agencies to regulate this vast part of the economy. A review of the

Supreme Court’s guidance regarding the major questions doctrine shows that the

Department of the Treasury and FinCEN were not authorized by Congress, prior to 2021,

to require registration of businesses transmitting virtual currency.


This Case Is Like the Cases in Which the Court Has Followed the Major Questions
Doctrine.

       The most recent major questions case is West Virginia v. EPA. In that case,

Congress had authorized the EPA to regulate coal-fired power plants by setting standards

for the emission of pollutants into the air. After years of reading the statutory authority as

focused on the emission of pollutants from individual plants, the EPA adopted a new and

expansive view of its regulatory authority. The EPA imposed regulations not aimed at the

emission of pollutants from individual plants, but rather at the place of coal-fired plants

in the entire electricity generation grid. The EPA reasoned that the authority to restrict

pollutants included the authority to restrict the production of electricity from coal-fired

plants so that more electricity would be produced from wind, solar, and sources of energy

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which produced fewer pollutants. Thus, the EPA adopted regulations which required that

coal-fired plants either reduce their own production of electricity or subsidize production

from cleaner sources. However, the Supreme Court rejected this assertion of regulatory

authority as invalid. The Court found that the major questions doctrine applied because

the EPA was attempting to “substantially restructure the American energy market.” W.

Virginia, 142 S. Ct. at 2610. Although there was a “plausible textual basis” in the statute

for the EPA’s actions, the Court found it “‘highly unlikely that Congress would leave’ to

‘agency discretion’ the decision of how much coal-based generation there should be over

the coming decades.” Id. at 2609, 2613 (quoting MCI Telecommunications

Corp. v. American Telephone & Telegraph Co., 512 U.S. 218, 231, 114 S. Ct. 2223, 129

L. Ed. 2d 182 (1994)). A “decision of such magnitude and consequence rests with

Congress itself.” W. Virginia, 142 S. Ct. at 2616. Therefore, the Court invalidated the

regulatory scheme adopted by the EPA.

       West Virginia v. EPA relied heavily on the history of major questions cases. For

example, in Brown & Williamson, the Court found that statutory authority of the Food

and Drug Administration to regulate “drugs” and “devices” did not extend to the power to

regulate, and even ban, tobacco products. Id. at 126-127, 137. The Court rejected the

FDA’s “expansive construction of the statute,” because “Congress could not have

intended to delegate” so much power “in so cryptic a fashion.” Id. at 160.

       Similarly, in Alabama Assn. of Realtors v. Department of Health and Human

Servs., 594 U. S. ___, 141 S. Ct. 2485, 2487, 210 L. Ed. 2d 856 (2021) (per curiam), the

Court found that the Centers for Disease Control (CDC) did not have the authority to

impose a nationwide ban in evictions in response to the COVID-19 pandemic. While the



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CDC has the authority to impose regulations “necessary to prevent the . . . spread of”

disease, Congress could not have intended, without expressly saying so, to authorize the

CDC to institute a nationwide eviction moratorium. Id. at 2487, 2489.

       In Utility Air Regulatory Group v. E.P.A., the Court addressed another question

regarding the EPA’s authority. The issue was whether the EPA could construe the term

“air pollutant,” in a specific provision of the Clean Air Act, to cover greenhouse

gases. Id. at 310-13. Although there was some basis in the text of the relevant statute, the

Court held that permitting the EPA to assume such authority would have allowed it to

regulate millions of small sources, such as hotels and office buildings, that had never

before been subject to such requirements. Id. at 310. In the absence of clear authorization

from Congress, the Court declined to uphold the EPA’s claim of “unheralded” regulatory

power over “a significant portion of the American economy” Id. at 324 (quoting Brown

& Williamson, 529 U.S. at 159).

       In Gonzales v. Oregon, 546 U. S. 243, 126 S. Ct. 904, 163 L. Ed. 2d 748 (2006),

the Court rejected the Attorney General’s claim that he could rescind the license of any

physician who prescribed drugs for assisted suicide when the only basis for the claimed

authority was a statute permitting the revocation of licenses in the “public interest.” The

Court found the “idea that Congress gave [the AG] such broad and unusual authority

through an implicit delegation . . .[was] not sustainable.” Id. at 267. Likewise, in National

Federation of Independent Business v. Occupational Safety and Health Administration,

595 U. S. ___, 142 S. Ct. 661, 211 L. Ed. 2d 448 (2022) (per curiam), the Court rejected

the idea that the Occupational Safety and Health Administration’s authority to regulate

occupational hazards justified a regulation requiring “84 million Americans . . . to either



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obtain a COVID-19 vaccine or undergo weekly medical testing at their own expense.” Id.

at 665.

          The circumstances now before this court are very much like these prior Supreme

Court cases. A federal agency, FinCEN, decided to regulate a multi-trillion-dollar sector

of the economy in which tens of millions of Americans participate, solely on the basis of

one word – “funds” – in a statute written long before virtual currency existed. Regardless

of whether there is possible textual basis for viewing virtual currency as “funds,” there is

very little basis to think that Congress intended in 2001 to convey such vast power to a

federal agency. Congress did not know about virtual currency at the time because it did

not exist. More importantly, it is highly unlikely that Congress intended “to delegate such

a sweeping and consequential authority in so cryptic a fashion.” W. Virginia v. EPA, 142

S. Ct. at 2608 (cleaned up); Brown & Williamson, 529 U. S. at 160.


A Colorable Textual Argument Is Not Enough to Overcome the Major Questions Issue.

          To be clear, the argument in this motion is not about the mere definition of

“funds.” Defendants in other cases have argued that 18 U.S.C. § 1960 and 31 U.S.C. §

5530 do not apply to Bitcoin or virtual currency because those do not fall within the

definition of “funds,” “money,” etc. Applying ordinary principles of statutory

construction, courts have roundly rejected that argument. See, e.g., United States v.

Harmon, 474 F. Supp. 3d 76, 80, 90 (D.D.C. 2020) (“the Court concludes that bitcoin is

money”; collecting cases reaching the same conclusion); United States v. Murgio, 209 F.

Supp. 3d 698, 707 (S.D.N.Y. 2016) (“Bitcoins Are ‘Funds’ Under § 1960”); United

States v. Faiella, 39 F. Supp. 3d 544, 545 (S.D.N.Y. 2014) (“Bitcoin clearly qualifies as

‘money’ or ‘funds’”); But see United States v. Petix, No. 15-CR-227A, 2016 U.S. Dist.


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LEXIS 165955, at *20 (W.D.N.Y. Dec. 1, 2016) (“Because Bitcoin does not fit an

ordinary understanding of the term ‘money,’ Petix cannot have violated Section 1960 in

its current form.”).

        That is not the argument here. To the contrary, that argument misses the point.

The issue is not whether, in a dictionary or in common usage, virtual currency would fall

within the definition of “funds.” The issue is whether, in 2001, Congress would have

prophesied the invention of an entirely new kind of financial instrument in 2008 and its

rise to become a multi-trillion dollar sector of the economy, and then, based on that

prediction, prospectively authorized the regulation of virtual currency by the use of one

word.

        The West Virginia v. EPA majority noted that, in each of the major questions

cases, there was “colorable textual authority” for the assertion of the power to regulate.

W. Virginia, 142 S. Ct. at 2609. However, that is insufficient where a major question is

involved. It is simply “common sense” that Congress would not give an agency great

power without detailed and explicit authorization. Id. (quoting Brown & Williamson, 529

U.S. at 133).

        Extraordinary grants of regulatory authority are rarely accomplished through
        “modest words,” “vague terms,” or “subtle device[s].” Whitman v. American
        Trucking Assns, Inc., 531 U. S. 457, 468, 121 S. Ct. 903, 149 L. Ed. 2d 1 (2001).
        Nor does Congress typically use oblique or elliptical language to empower an
        agency to make a “radical or fundamental change” to a statutory scheme. MCI
        Telecommunications Corp. v. American Telephone & Telegraph Co., 512 U. S.
        218, 229, 114 S. Ct. 2223, 129 L. Ed. 2d 182 (1994).

W. Virginia, 142 S. Ct. at 2609.

        Thus, “separation of powers principles and a practical understanding of legislative

intent,” W. Virginia, 142 S. Ct. at 2609, counsel against interpreting a single word to



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convey vast power, effectively finding “elephants in mouseholes.” Whitman, 531 U.S. at

468. A regulatory agency must show “something more than a merely plausible textual

basis.…The agency instead must point to ‘clear congressional authorization’ for the

power it claims.” W. Virginia, 142 S. Ct. at 2609 (quoting Utility Air, 573 U.S. at 324).


The Age of the Statute on Which the Regulation Is Based Shows that Congress Did Not
Intend to Regulate Cryptocurrency.

       The Court has also explained that when “an agency claims to discover in a long-

extant statute an unheralded power to regulate ‘a significant portion of the American

economy,’ Brown & Williamson, 529 U.S., at 159, we typically greet its announcement

with a measure of skepticism.” Utility Air, 573 U.S. at 324. For example, in NFIB v.

OSHA, 142 S. Ct. at 666, the Court rejected OSHA’s attempt to impose a COVID vaccine

mandate based on a statutory provision adopted 40 years before the pandemic.

       The same principles apply here. It is highly unlikely, if not inconceivable, that

when Congress used the word “funds” in the 2001 amendment to 31 U.S.C. § 5330, it

was anticipating the advent of virtual currency and a seismic change in the national and

world economy. As described in detail above, not only was that development very likely

unforeseen, it also created conflict among federal agencies and between the federal

government and state governments. It is simply not the case that virtual currency emerged

and everyone agreed that it is already well-covered by existing law. The exact opposite is

true. No doubt that is why Congress did not amend the statute until 2021.




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Conclusion: Counts One and Three Must Be Dismissed

       Federal agencies do not make law. Congress makes law. In this case, the federal

agency FinCEN tried to make law. It tried to grant itself the authority to require the

registration of businesses exchanging virtual currency for fiat currency. FinCEN had no

such authority because Congress had not given it that authority. For that reason, Aria

DiMezzo cannot be convicted of operating, or conspiring to operate, such a business

without registering with FinCEN. The court should dismiss Counts One and Three.

       The defense seeks a hearing on this motion if the Government denies any of the

facts cited within. The defense notes that it has cited Government sources for many

factual assertions. In addition, the defense seeks a hearing if further argument or

questions would assist the court in addressing this motion.

       No additional memorandum is filed because all authorities necessary for the court

to grant this motion are cited herein.

       This is a dispositive motion and the defense presumes the Government’s

objection.

       WHEREFORE the defense requests that the court order a hearing if the

Government objects to any facts asserted here or if the court prefers a hearing, and that,

thereafter, the court grant this motion dismissing Counts One and Three of the

superseding indictment.




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Date: July 29, 2022.                                          Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

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document was signed by me.

                                                              /s/ Richard Guerriero
                                                              Richard Guerriero, Esq.




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